              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:13-cr-00029-MR-DLH-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                    ORDER
                                )
                                )
ROCKY JOHNSON,                  )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Government’s Renewed

Motion for Order of Forfeiture [Doc. 39].

      On April 2, 2013, the Defendant was charged in a Bill of Indictment

with one count of bank robbery, in violation of 18 U.S.C. § 2113(a). [Doc.

1]. The Bill of Indictment includes a Notice of Forfeiture and Finding of

Probable Cause, in which the Grand Jury found that there was probable

cause to believe that the following property is subject to forfeiture in this

case: “A forfeiture money judgment in the amount of at least $6,274, such

amount constituting the proceeds of the violations set forth in this bill of

indictment.” [Id. at 2].




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      The Defendant pled guilty without the benefit of a plea agreement on

December 30, 2013. [See Doc. 34]. Thereafter, the Government filed a

motion for the entry of a forfeiture money judgment in the amount of

$6,274.00.   [Doc. 37].    The Court denied this motion without prejudice

because the Government had not presented any evidence from which the

Court could make a determination of the amount of money derived from the

offense to which the Defendant pled. [Doc. 38].

      The Government now renews its motion for an order of forfeiture.

[Doc. 39]. In support of its motion, the Government submits the Affidavit of

Andrew Romagnuolo, a special agent with the Federal Bureau of

Investigation, who presents a factual summary of the Defendant’s offense.

[Doc. 39-1]. Agent Romagnuolo, however, was not the FBI agent who

investigated this case, and he fails to state any basis for his personal

knowledge of the facts of the underlying incident. “A witness may testify to

a matter only if evidence is introduced sufficient to support a finding that the

witness has personal knowledge of the matter.” Fed. R. Evid. 602. Without

a stated basis of the agent’s personal knowledge, the Court cannot rely on

Agent Romagnuolo’s affidavit to make a determination of the amount of

money derived from the Defendant’s crime. Accordingly, the Government’s

motion for an order of forfeiture is denied without prejudice.
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    IT IS, THEREFORE, ORDERED that the Government’s Renewed

Motion for Order of Forfeiture [Doc. 39] is DENIED WITHOUT

PREJUDICE.

    IT IS SO ORDERED.




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